                                  UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

       In re:                                                 Chapter 13 No. 14-48769
       Jeffrey Michael DeVries and
       Amy Elizabeth DeVries                                  Hon. Walter Shapero
                              Debtors.
       ______________________________/


                       ORDER APPROVING PERMANENT LOAN MODIFICATION

              THIS CAUSE came before the Court on the Motion of JPMorgan Chase Bank,
      National Association, (“Creditor”) for entry of an Order To Approve Permanent Loan
      Modification, and this Court, having determined that there were no objections to the entry of
      this Order, and being otherwise fully advised in the premises, it is hereby

               ORDERED as follows:

               1.       Debtors’ Permanent Loan Modification with Creditor is approved as follows:
                        a.     The property securing this mortgage is located at 51820 Rivard Rd., New
                               Baltimore, MI 48047-4295.
                        b.     The Mortgage Loan Modification is effective May 1, 2015.
                        c.     Except as expressly stated in this Order, the loan is modified according to the
                               Loan Modification Agreement attached hereto and incorporated by
                               reference.
                        d.     Effective May 1, 2015 Debtors’ ongoing mortgage payment shall be
                               $1,373.69 per month, including Principal and Interest ($818.16) plus escrow
                               of $391.73. If escrowed or if subject to interest rate adjustments, the payment
                               amount shall be subject to future adjustments for changes as provided for in
                               the mortgage and consistent with the requirements of applicable Federal and
                               State Law.
                        e.     The Chapter 13 Trustee shall adjust its records to reflect the status of the
                               account pursuant to the loan modification and this Order and shall not make
                               further disbursements with respect to Creditor’s Class 4.2 arrearage claim.
                               To the extent that disbursements have been made after the date of
                               modification referenced in this motion and Order, the Trustee is not required
                               to recoup any funds and Creditor may apply any such funds to the mortgage
                               loan pursuant to the contractual due date;

               2.       Effective May 1, 2015 payments pursuant to the Loan Modification approved in this
                        Order shall be made by the Chapter 13 Trustee to 3415 Vision Drive., Columbus, OH
                        43219. Trustee shall make these payments as part of the Trustee’s normal
                        disbursement cycle and consistent with the terms of Debtor’s (s’) confirmed plan as
                        modified herein.

               3.       Creditor may recover any attorney fees and costs incurred for the approval of the
                        modification as permitted by agreement or law.

               4.       Except as modified in this Order, the terms and conditions of the Loan and Mortgage
                        documents between Debtors and Creditors shall remain in full force and effect.



               5.       The treatment of the Creditor in Debtor’s Chapter 13 Plan as confirmed (as modified,

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                        if at all) as necessary to comply with the provisions of this Order; including but not
                        limited to, the change in Creditor’s Class 4.1 mortgage payment;

               6.       This Order is without prejudice to Creditor’s right to file Notices of Payment Change
                        and Notices of Fees, Expenses, and Charges pursuant to Federal Rule of Bankruptcy
                        Procedure 3002.1.

               7.       Entry of this Order is without prejudice to debtor filing any further plan modification
                        that debtor deems appropriate.

               8.       This Order shall remain binding and effective despite any conversion of this case to
                        any other chapter of Title 11 of United States Bankruptcy Code.

               9.       Upon the conclusion of Debtor(s) Chapter 13 case, whether by discharge,
                        conversion, dismissal or otherwise, Debtor(s) shall be responsible for making all
                        future payment pursuant to the terms of the Mortgage Loan documents.

                       IT IS FURTHER Ordered and adjudged that except as expressly modified herein,
               Debtor(s) Plan as confirmed (and as later modified, if at all) shall remain in full force and
               effect.




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      Signed on June 23, 2015
                                                       ____ __/s/ Walter Shapero_    ___
                                                          Walter Shapero
                                                          United States Bankruptcy Judge




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